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    ocumenqs)do notcompl    y with the requirements ofthe LocalRules,CM/ECF Administrative
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         Case was notfiled withrequiredfilingfee of$        (civilcases:$400 00',      .
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   Date:02/20/2018



                                             STEV EN M .LARIM ORE
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